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                        EXHIBIT 9
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                                                                         Page 364

 1                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
 2                                  EASTERN DIVISION
 3


 4

            IN RE:      NATIONAL PRESCRIPTION            MDL No. 2804
 5          OPIATE LITIGATION                                Case No. 17-md-2804
 6
            This document relates to:                        Judge Dan
 7                                                       Aaron Polster
 8          The County of Cuyahoga v. Purdue
            Pharma, L.P., et al.
 9          Case No. 17-OP-45005
10          City of Cleveland, Ohio vs. Purdue
            Pharma, L.P., et al.
11          Case No. 18-OP-45132
12          The County of Summit, Ohio,
            et al. v. Purdue Pharma, L.P.,
13          et al.
            Case No. 18-OP-45090
14
15
16
17                                    VOLUME II
18                   Videotaped Deposition of Joseph Rannazzisi
19                                Washington, D.C.
20                                 May 15, 2019
21                                    8:43 a.m.
22
23
24          Reported by:      Bonnie L. Russo
25          Job No. 3301884

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                                                                  Page 365

 1          Videotaped Deposition of Joseph Rannazzisi held
 2          at:
 3

 4

 5

 6

 7

 8                          Covington       &   Burling, LLP
 9                          850 10th Street, N.W.
10                          Washington, D.C.
11

12

13          Pursuant to Notice, when were present on behalf
14          of the respective parties:

15
16
17

18
19

20

21

22

23

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25

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                                                                   Page 367

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 7          ALSO PRESENT:
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14          Firm, Paralegal
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 1                              P R O C E E D I N G S
 2

 3                          THE VIDEOGRAPHER:                We are now on
 4          the record.         My name is Dan Lawlor,             I'm a
 5          videographer with Golkow Litigation Services.

 6          Today's date is May 15, 2019,                    and the time is

 7          8:43 a.m.
 8                        This video deposition is being held

 9          in Washington, D.C.,           in the matter of In RE:

10          National Prescription Opioid Litigation, MDL

11          No.   2804.    The deponent is Joseph Rannazzisi.

12                        Counsel will be noted on the

13          stenographic record.             The court reporter is

14          Bonnie Russo and will now swear in the witness.

15

16                               JOSEPH RANNAZZISI,

17            being first duly sworn,             to tell the truth,          the

18                whole truth and nothing but the truth,

19                              testified as follows:

20                  EXAMINATION BY COUNSEL FOR PLAINTIFFS

21                        BY MR.    LANIER:

22                Q.      Mr.    Rannazzisi,        thank you for your

23          time today.         My name is Mark Lanier.              You and I

24          have not met before you sat down here just a

25          few minutes ago;         is that right?

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 1                       THE WITNESS:          The systems that are
 2          -- that are in place,           that's a business
 3          decision.     The company must determine what --
 4          what system is correct for their business model

 5          or how they are doing business, as long as it

 6          identifies, you know, the definition of a
 7          suspicious order, an order of unusual size,

 8          frequency or substantially deviating from the

 9          normal ordering pattern,             that is what the
10          requirement is, and the -- it was the

11          industry's or the registrant's system so they

12          were to create that system.
13                       BY MR. LANIER:
14                Q.     All right.         So it's a business

15          decision based upon,          I guess it might be

16          different for a manufacturer than a distributor

17          than a seller, et cetera?

18                       MR. EPPICH:          Object to form.

19                       MR. STEPHENS:           Objection.

20                       MS. MAINIGI:           Object to form.

21                       THE WITNESS:           Yes.

22                       BY MR. LANIER:

23                 Q.    But whatever decision they make, was

24          it required that they identify these suspicious

25          orders?

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 1                            CERTIFICATE OF NOTARY PUBLIC
 2                       I,   Bonnie L. Russo,          the officer before
 3           whom the foregoing deposition was taken,                       do
 4           hereby certify that the witness whose testimony
 5           appears in the foregoing deposition was duly
 6           sworn by me; that the testimony of said witness
 7           was taken by me in shorthand and thereafter
 8           reduced to computerized transcription under my

 9           direction; that said deposition is a true
10           record of the testimony given by said witness;

11           that I am neither counsel for,                   related to, nor
12           employed by any of the parties to the action in
13           which this deposition was taken; and further,
14           that I am not a relative or employee of any

15           attorney or counsel employed by the parties

16           hereto, nor financially or otherwise interested

17           in the outcome of the action.



                                     ~ L k
18

19

20                                  Notary Public in and for
21                                   the District of Columbia

22

23           My Commission expires:               June 3 0,     2 02 0

24

25

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